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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO

Doe et al.,

Plaintiffs,

v.
                                           Civil No. 17-2287(DRD)
Marriott International, Inc. et
al.,

Defendants.



                                  JUDGMENT

     Pursuant to the Court’s Opinion and Order (Docket No. 107)

granting Defendants’ Motions to dismiss (Docket Nos. 65 & 66), the

Court    hereby   enters   a   final   judgment   DISMISSING    PLAINTIFF’S

FEDERAL CLAIMS WITH PREJUDICE.

     THIS CASE IS NOW CLOSED FOR ALL ADMINISTRATIVE AND STATISTICAL

PURPOSES.

     IT IS SO ORDERED, ADJUDGED AND DECREED.

     In San Juan, Puerto Rico this 12th day of April, 2019.

                                         /s/ Daniel R. Dominguez
                                         Senior U.S. District Judge
